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                IN THE UNITED STATES BANKRUPTCY COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION


In re:

TERESA GAFFNEY                                   Case No.: 8-22-bk-00690-MGW
                                                 Chapter 13
Debtor.
______________________________/

                               NOTICE OF HEARING

      NOTICE IS GIVEN THAT a preliminary hearing in this case will be held before the
Honorable Michael G. Williamson on August 22, 2022 at 3:00 p.m. in Courtroom 8A at
the Sam M. Gibbons United States Courthouse, 801 N. Florida Avenue, Tampa, Florida
33602 on Creditor, PHILLIP A. BAUMANN’S, as Administrator Ad Litem of the Estate of
John J. Gaffney, deceased, Motion to Strike Defamatory Statements – Docket #72.

       Parties may attend the hearing in person, by Zoom, or by telephone. The Court will
enter a separate Order Establishing Procedures for Video Hearing shortly before the
hearing. Parties permitted to appear by telephone must arrange a telephonic appearance
through Court Solutions (www.court−solutions.com) no later than 5:00 p.m. the business
day preceding the hearing. NOTE: All parties should proceed to the website and select
'Sign Up'. For unrepresented parties only, before submitting the completed form, you
must select 'I am not an attorney' and 'Certified Indigent'. Once the information is
submitted you will receive an email with further instructions.

       The Court may continue this matter upon announcement made in open court
without further notice. Any party opposing relief sought at this hearing must appear at
the hearing or any objections or defenses may be deemed waived.

Dated this 12th day of August, 2022.

                                                 Respectfully submitted,
                                                 BaumannKangas Estate Law


                                                 /s/Michael R. Kangas
                                                 Michael R. Kangas
                                                 Florida Bar No. 54492
                                                 201 East Kennedy Boulevard, Suite 830
                                                 P.O. Box 399
                                                 Tampa, Florida 33601-0399
                                                 (813) 223-2202
                                                 Attorney for the Administrator Ad Litem
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                                             of the Estate of John J. Gaffney
                                             Email: mrk@estatelawflorida.com
                                             Secondary:
                                             admin@estatelawflorida.com
                                             jek@estatelawflorida.com


                            CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing has been
furnished via the Court’s CM/ECF system or U.S. Mail to:

      Office of the US Trustee, Timberlake Annex, 501 E. Polk Street, Suite 1200,
      Tampa, Florida, 33602;

      Chapter 13 Trustee, Kelly Remick, P.O. Box 89948, Tampa, Florida, 33689;

      Attorney for Debtor, Ziona Kopelovich, 5422 Trouble Creek Road, New Port
      Richey, Florida 34652;

      Keith Labell, Robertson, Anschutz, Schneid, Crane & Partners, PLLC, 6409
      Congress Avenue, Suite 100, Boca Raton, Florida 33487;

      Teresa Gaffney, 3507 W San Luis Street, Tampa, Florida 33629.

on this 12th day of August, 2022.


                                     /s/Michael R. Kangas
                                     Michael R. Kangas
                                     Florida Bar No. 54492
